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OH|GENAL

IN THE COURT OF COMMON PLEAS

: RAM1LT0N coUNTY, omo
civn. nmsloN
JENNIFER& JosEPH MYERS : case No_ A 1 5 0 5 9 7 1
301 soUTH JST STREET -
TRENTON, 01~110_45067 Judge:
Plamriff, : coMPLAmT
; & aim DEMAND

V.

ABUBAKAR ATIQ DURRAN!, M.n.
(Served by Hague Convention}

 

And

: (ALL NEW nn. DURRANI
JoURNEY erE oF cmcmNA'rI, LLC: cAsEs sHALL Go To
10475 READING RD., sums 115 : JUDGE RUEHLMAN PER
cm cINNATI, on 45241 : ms oRDER)
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TECHNOLCGIES, mc.

(served by Hague Convention) l

` Defendants ",','f_:a 1 DII.5010001NI
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_.`.1_':\,'.;'."
‘\

Cornes now Plaintiff, Jennifer and Joseph Myers, and files this Complaint and _]ury demand,

‘.l'.‘~'_.

stating as follows:

]. At all times relevant, P]qintifi`s, (“Plaintifi” or “Mrs. Myers”) were married and residents of

and domiciled in the State of Ohio.

2. At all times relevant, Defcndant Dr. Abubakar Atiq Durrani (“Dr. Durrani") was licensed to

and did in fact practice medicine in the State of Ohio.

EXI~HBIT A

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3. At all times relevant, Center for Advanced Spine Technologies, lnc. (“CAST") was licensed

to and did in fact perform medical services in the state of Ohio, and was and is a corporation

authorized to transact business in the state of Ohio.

4. At a_ll times relevant l carney Lite of Cincinnati, LLC (“loumey Lite”) was a Delaware

corporation transacting business and performing and managing medical services in the state of

Ohic.

5. At all times relevant herein, J carney Lite held itself out to the public, and

specifically to Plaintiffs, as a hospital providing competent and qualified medical and nursing

services, care and treatment by and through its physicians, physicians in training, residents,

nurses, agents, ostensible agents, servants and/or employees

6. ’I'he amount in controversy exceeds the jurisdictional threshold of this Court.

7. The subject matter of the Complaint arises out of medical treatment by the Defendants in

Hamilton County, Ohio. This Court is thus the proper venue to grant the PlaintiFfthe relief she

seeks.

8. This case has been previously 41 (A) voluntarily dismissed and now is being re-Eled.

FACTUAL ALLEGAT!QNS OF PLA__INTIFF

9. Plaintiff was referred to seek treatment with Dr. Durrani in April 2013 for lower back pain
radiating into her left leg.

10. At Plaintiff’s first office visit, Dr. Durrani recommended immediate surgery on Plaintiff to
alleviate her pain.

ll. On June ll, 2013 Dr. Durrani performed a spinal iilsion surgery with instrumentation on

Plaintiff at Joumey Lite.

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12. The Informed Consent was only signed for a Left LS-Sl Transforaminal Lumbar interbody
fusion, yet Plaintifl` had a Transfora.rninal Lumbar interbody Discectomy, using Auto &
Allograft, placement of TLIF Cage or Posterior Spinal Fusion/insn‘umentation. The
procedure Dr. Durrani performed was never consented to.

13. Plaintiff began having pain in her right leg and both hips as well as difficulty bending over.

]4. Dr. Durrani told Plaintiff to give it time and it would heal.

lS. Plaintiff, after the surgery with Dr. Durrani, now has limitations on duration she is able to
stand, sit, and sleep in certain positions

16. Piaintiff has limits on how much she can litt, which limits her abilities at her place of
employment

17 . Plaintiff has hip pain, which was not there prior to surgery with Dr. Durrani.

18. Upon information and belief Dr. Durrani used lnfuse/BMP-2 “off-labei” and/or Puregen
without Mrs. Wyatt’s knowledge or consentl causing Mrs. Wyatt harm.

19. 'I'he use ofBMP-2 increases a person’s chance of cancer by 3.5%

20. Due to the unnecessary surgeries Dr. Durrani performed, Plaintiff has a 3.5% increased
chance of cancer because of the use of BMP-2.

21. As a direct and proximate result of the use and implementation of Infuse/BMP-2 Plaintiff
has incurred a 3.5% increase in the risk of Cancer. As a result Plaintiff has an increased fear
of Cancer.

22. Upon information and belief, the surgery performed by Dr. Durrani was medically
unnecessary and improperly performed

23. As a direct and proximate result oers. Wyatt‘s surgery, Dr. Durrani’s negligence, and the

Defendant’s negligencel Mrs. Wyatt has suffered harm.

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24. Plaintiff did not become aware of lnfiise/BMP-Z and/or Puregen until she contacted her
undersigned counsel.

MORE SPECIFIC ALLEGATIONS BASED UPON DISCOV'ERY AND DEPOSITION

MIMQ_M

25 . This information is to demonstrate the overall negligence and inappropriate actions ofDr.

Durrani and the hospitals he worked with and/or for and/or in an individual capacity.

26. K.lissy Probst was Dr. Durrani’s professional and personal assistant handling

professional, academic, travel, surgery scheduling his journals, his Boards, his credentialing, his

personal affairs and his bil]s.

27. Krissy Probst worked as Dr. Durrani’s assistant for three years at Children's Hospital

from 2006, 2007, and 2008.

28. Krissy Probst reported Dr. Durrani to Sandy Singleton, the Business Director at

Chi}dren’s for his having an affair with Jamie Moor, his physician assistant

29. Krissy Probst resigned in 2008 from Dr. Durrani and remained working for three other
surgeons in the Orthopedics Department.

30. Krissy Probst worked in the Orthopedic Department for eleven years from 2002-20] 3. She
retired in May, 2013.

31. Krissy Probst coniirrned Dr. Durrani claims being a Prince, when he is not.

32. According to Kiissy Probst, Dr. Crawford, an icon in pediatric orthopedics treated Dr.
Durrani “like a son.”

33. According to Kiissy Probst, Dr. Crawford, Chief of Orthopedics at Children’s

unconditionally supported Dr. Durrani no matter the issues and problems Dr. Durrani faced.

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34. Dr. Durrani’s patient care at Children’s Hospital dropped off considerably after Jamie Moor
became his physician assistant and they began their affair.

35. Dr. Durrani was the only orthopedic spine surgeon at Children’s who would perform a
dangerous high volume of surgeries

36. At Children's, Dr. Durrani would begin a surgery, leave and have fellows and residents
complete a surgery or do the full surgery while he was in his office with Jarnie Moor, his
physician assistant for four or Eve hours.

37. Children’s Board and administration knew about Dr. Durrani doing too many surgeries and
not properly doing the surgeries. They did nothing

38. Dr. Durrani argued to Children’s administration when they complained to him that he made
them money so Children‘s tolerated him and allowed him to do what he wanted

39. Dr. Durrani, when told by Children’s that Jamie Moor had to leave, told Children’s that he
would leave too.

40. Dr. Agabagi would do one spine patient a day at Children’s because it takes normally eight
hours for a full fusion.

41. Dr. Durrani would schedule two to three spine surgeries a day at Children’s.

42. Dr. Durrani would repeatedly have the Business Director, Sandy Sing]eton, or OR Direetor
allow him to add surgeries claiming they were emergencies when they were not.

43. Dr. Durrani would leave a spine surgery patient for four or five hours in the surgery suite
under the care of fellows or residents, unsupervised and sit in his office and check on the
surgery as he pleased.

44. Dr. Peter Stem did not like Dr. Durrani while Dr. Durrani was at Children's because he knew

all about his patient safety risk issues Yet, Dr. Stem supported, aided and abetted Dr.

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Durrani’s arrival at West Chester. It defies comprehension, but was for one of the world’s
oldest motives-greed ofmoney.

45. 'l'here is also a Dr. Peter Sturm, an orthopedic at Children‘s who also had no use for Dr.
Durrani.

46. Dr. Durrani chose his own codes for Children’s billing which he manipulated with the full
knowledge of Children's Board and management

47. Dr. Durrani was dating and living with Beth Garrett, a nursing school drop-out, with the full
knowledge of his wife Shazia.

48. Dr. Durrani was close with David Rattigan until David Rattigan pursued lamie Moor and Dr.
Durrani would not allow David Rattigan in the OR at Children’s for a long time.

49. Dr. Durrani, while claiming to have riches, does not. Dr. Durrani’s wife’s famin paid for Dr.
Durrani’s education and it is her family with the significant wealth.

50. Medu'onics paid for Dr. Durrani’s trips and paid him $10,000 fees for speaking or simply
showing up at a spine conference

51 . Krissy Probst’s business director told her to save all Dr. Durrani related documents and
information and she did.

52. While doing research at Children’s, Dr. Durrani would misstate facts regarding his research
Children’s knew he did this.

53. Dr. Durrani ended on such bad terms with Children’s Hospital he was not allowed on the
premises after his departure in Deeember 2008, yet he performed a spine surgery there in
February 2009.

54. Erie J. Wall, MD was the Direetor of Surgical Services Division of Pediatrie Orthopedic

Surgery when Dr. Durrani left Children's.

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55. Sandy Singleton, MBA was the Senior Business Director of Surgical Services Division of
Pediatric Orthopedic Surgery when Dr. Durrani left Children’s.

56. On information and belief, Dr. Durrani used his relationships with Children’s officials to
purge his Children’s tile of all patient safety and legal issues which had occurred as part of
his departure “deal" which Defendants hide with privilege

INFUSEIBMP-Z

I. BACKGRO§EL MOMAHON

57. 'I'he Deters Law Firm, P.S.C., represents approximately 500 Plaintiffs in medical malpractice
actions against a fenner Northern Kentucky/Cincinnati~area spine surgeon named Abubakar
Atiq Dr. Durrani (Dr. Durrani), his company, Center for Advanced Spinc Techuologies, Inc.
(CAST), and several area hospitals including, but not limited to, West Chester Hospital
(WCH), University of Cincinnati Health (UC Health), Cincinnati Children’s Hospital
Medical Center (CCHMC), Christ Hospital, Deaconess Hospital, Good Samaritan Hospital
and Journey Lite of Cincinnati, LLC (.loumey Lite) (collectively Hospitals).

58. Dr. Durrani performed unnecessary, fraudulent, dangerous, and ultimately damaging
surgeries on these Plaintifl`s while Work.ing for and with these Hospitals.

59. The scheme and artiiice to defraud that Dr. Durrani devised, executed, and attempted to
execute while working for and with the Hospitals included the following patterns and
practices:

a. Dr. Durrani persuaded the patient that surgery was the only option, when in fact the

patient did not need surgery.

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b. Dr. Durrani told the patient that the medical situation was urgent and required
immediate surgery. He also falser told the patient that he/she was at risk of grave
injuries without the surgery.

c. Dr. Durrani often told his cervical spine patients that they risked paralysis or that
his/her head would fall off if he/she was involved in a car accident, ostensibly
because there was almost nothing attaching the head to the patient’s body.

d. Dr. Durrani often ordered imaging studies such as x-rays, CT scans, or MRls for
patients but either did not read or ignored the resulting radiology reports.

e. Dr. Durrani often provided his own exaggerated and dire reading of the patient’s
imaging study that was either inconsistent with or was plainly contradicted by the
radiologist's report. At times, Dr. Durrani provided a false reading of the imaging

f. Dr. Durrani oilen dictated that he had performed certain physical examinations and
procedures on patients that he did not actually perfonn.

g. Dr. Durrani often ordered a pain injection for a level of the spine that was
inconsistent with the pain stated by the patient or with that indicated by the imaging.
Dr. Durrani also scheduled patients for surgeries without learning of or waiting for
the results of certain pain injections or related therapies.

h. Dr. Durrani chen dictated his operative reports or other patient records months after
the actual treatment had occurred.

i. Dr. Durrani’s operative reports and treatment records contained false statements
about the patient's diagnosis, the procedure perfonned, and the instrumentation

used in the procedure

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j. When a patient experienced complications resulting ii'om the surgery, Dr. Durrani
at times failed to inform the patient of, or misrepresented the nature of, the
complications

k. All ofthe above-mentioned actions were done with the knowledge, cooperation, or
intentional ignorance of the Hospitals because Dr. Durrani was one of the biggest
moneymakers for the Hospitals.

60. In addition to the civil medical malpractice actions against Dr. Durrani, on August 7, 2013,
he was indicted by the Federal Govemment for performing unnecessary surgeries and for
deii‘auding the Medicare and Medicaid programs Speciiically, the ten-count complaint
charged Dr. Durrani with health care fraud, in violation of 18 U.S.C. § 1347, and making
false statements in health care matters, in violation of 18 U.S.C. § 1035. There was a

subsequent superseding indictment adding over 30 counts.

61. Following these criminal indictments, in December of 2013 and prior to the first Plainh`ft"s
trial in these actions, Dr. Durrani tied the United States and returned to Pakistan. He has not
returned to the United States to face allegations of either criminal or civil liability.

62. Among Dr. Durrani’s and the Hospitals’ professional failings was the use ofa synthetic
bone-morphcgenetic protein called BMP»Z, which was marketed under the trade name
“Infuse." Dr. Durrani used BMP-Z/Infuse in ways that were either not approved by the
federal Food and Drug Administration (FDA) or that were specifically contraindicated as
noted on the FDA-approved product labeling. 'I'he Defendants had full knowledge of this
fact

63. BMP-?./]nihse was, at the time of the surgeries in question, and currently still is

manufactured by a company called Medtronic, Inc. (Medtronic).

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64. Dr. Durrani predominantly used BMP-2/Int`use on patients at W`CH, which is owned by UC
Health.

65. lt is Plaintift`s1 position tha_t this non-FDA-approved use ofBMP-Z/Iniilse was not only
negligent, and fraudulent, but criminal based upon the manner in which it was allowed to be
used by Dr. Durrani at West Chester, all with the knowledge and full support of the
Det`endants.

II. 'I`HE PLA¥ERS REGARDING BMP-Z

66. Dr. Durrani is a citizen of the Republic of Pakistan and was a permanent resident of the United
States who, ii'orn approximately 2005 to 2013, worked as a spine surgeon in and around
Cincinnati, Ohio, until he fled the United States tc escape civil liability and criminal
prosecution

67. Medtronic is an lrish corporation, with its principal executive office located in Dublin, Ireland,
and its operational headquarters located in Minneapolis, Minnesota. Medtronic is the world’s
third largest medical device company and manufactures and markets BMP~Z/Infuse. Medtronic
sales representatives were also present during the experimental surgeries performed on
Plaintift`s, who are clients of the Deters Law Firm.

68. CAST was a corporation organized under the laws ot` Ohio and had business and medical
offices in Florence, Kentueky and Evendale, Ohio. CAST was owned, in whole or in part, by
Dr. Durrani.

69. Bahler Medical, Inc. is a manufacturer of medical implants and is a corporation located in the

state of Ohio.

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7 0. David Ratti gen is an Ohio,resident and was and is a sales representative for Medtronic. Furthcr,
he is affiliated with Bahler Mcdical, lnc., was involved in many of the transactions involving
BMP-Z, and was present for the experimental surgeries in which BMP-Z was used.

?1. West Chester Hospital, LLC is a corporation organized under the laws of Ohio. lt provides
medical facilities and billing support to physicians, including Dr. Durrani, in the state othio.
WCH is owned by UC Health.

72. UC Health is a private, non-proiit coiporation organized under the laws of Ohio. lt provides
medical facilities, management administrative aneillary, and billing support to physicians,
and it owns WCH.

73. CCHMC is a medical facility in Ohio where Dr. Durrani was an employee until approximately
2008.

III. T IS B -ZIINFUSE?

74. The hill name of BMP-Z is “Recombinant Hurnan Morphogenetic Protein-Z” (also called
thMP-Z). The following dennitions apply:

a. Recornbinant - Artificially created in a lab;
b. Morphogenetic - Evolutionary development of an organism;
c. Protein - Essential for growth and repair of tissne.

75. Recombinant human protein (thMP~2) is currently available for orthopedic usage in the
United States.

76. Med'o'onic manufactured, marketed, sold, and distributed BMP-2 under the trade name
“lnfuse.“

77. BMP-Z has been shown to stimulate the production of bone.

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78. lmp]antation of BMP-2 in a collagen sponge induces new bone formation and can be used for

the treatment ofbony defects, delayed union, and non-union.

BMP-2 AS A BIOLOGIC

79. BMP-?. is not a device, but instead it is a biologic. See .luly 2009 Amcrican Medical Association
Article and 201 l Stanford School of Medicine Article.

80. According to the FDA, “[a] ‘biologica] product’ means a virus, therapeutic serum, toxin,
antitoxin, vaccine, blood, blood component or derivative, allergenic product, or analogous
product, or arsphenamine or derivative ofarsphenamine (or any other trivalcnt organic arsenic
compound)_. applicable to the prevention, treatment or cure of a disease or condition of human
beings (Public Health Service ActSec.35 l (i)1.”Available
http:/lwww.fda.gov/lCECI/Inspections/lOl\/ljucm12253 5 .htrn.

81. BMP-2 is a Bone-Morphogenetic Protein that is used to promote bone creation and remolding
and falls under the dennition of a biologic. See AMA article (“bone forming properties”) and
Stanford Article. BMP-2 dii`fers from a medical device in that once implanted, it can only be
removed days etter surgery. lf a patient had a complication due to BMP-'Z and did not discover
this complication until year after surgery, the patient could not have BMP-2 removed to reduce
the complication because BMP-?. is so integrated into the patient’s bone.

82. A patient has a right to determine what happens to his or her body and the preservation of that
right requires that the patient be informed when a bone growth product, that causes irreversible

hann, is placed in his or her body.

WHEN IS ]T USED?
83. Recombinant human BMPS are used in orthopedic applications such as spinal fusions, non-

unions, and oral surgery.

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84. The bone graft contains two parts. The first is a solution of human bone growth protein or
morphogenetic protein-Z. This protein is found in the human body in small dosages and is
important for the heating and formation of bones. The protein is geaetically engineered to be
utilized in the Iniiise Bone Graii product, and it is employed for the stimulation of_formation
and growth in bones.

85. The second part of the bone graft is an absorbable collagen sponge.

86. Both components of the Inque Bone Grait structure are used to fill the LT-Cage Lumbar
Tapercd Fusion Device. This chamber is intended to restore the deteriorated disc space to its
original height

87. FDA-approved use for the lnfuse Bone Grait product is only for lower back surgery using an
anterior lumbar- interbody fusion (ALIF), a technique where the operation on the spine is
conducted through the abdomen.

88. ln addition, the lnii.\se Bone Grait product must be used in conjunction with Mcdtronic’s LT-

Cage. Use of BMP-2 without the LT-Cage is considered an “off-label"_use.

CONTRA]NDICATIONS OF USE

89. The FDA specifically warns against the use of Infuse in the cervical spine, citing reports of
“life~thrcatening complications.”

90. Any use of Ini"use other than in lumbar spine surgeries with the LT-Cage is considered -“off-
labcl” use

91.Infuse should never be used on the skeletally immature patient, i.e., in patients less than 18
years of age or those with no radiographic evidence of epiphyseal closure.

92. Infuse should never be used in the vicinity of a resected or extant tumor.

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93. Infuse should never be used in those patients known to have active infection at the surgical

site.

RISKS ASSOCIATED WITH OFF-I..ABEL USE

94. When used in an off-label manner, patients may experience problems with pregnancy,
including but not limited to: complications in fetal development; allergic reactions to titani\nn,
bovine type 1 oollagen, or bone morphogenetic protein-2; infection; the creation or
intensification of tumors; liver or kidney disease; lupus or human immunodeiiciency virus
(HI'WAIDS); problems with radiation, chemotherapy, or steroids if a patient is malignant;
paralysis; bowel and/or bladder dysfunctions; sexual disorders, including sterilization and
incompetence; respiratory failure; excessive bleeding, and; death.

IV. THE YGULATORY PROCESS

95. The Medical Device Amendments (MDA) to the federal Food, Drug, and Cosrnetic Act, 21
U.S.C. § 301 et seq., established two separate approval processes for medical devices: Pre-
Market Approval (PMA) and Pre-Market NotiEcation.1

96. The FDA's PMA process is lengthy and involves extensive investigation by the FDA. The
PMA application requires manufacturers to submit extensive animal and human data to
establish their devices' safety and effectiveness M. Frequentlyl an
experimental program under close FDA scrutiny must be successfully completed before
FDA approval can be obtained under this process FDA regulations also

require PMA applicants to submit copies of all proposed labeling for the device. 21 C.F.R. §

 

1 Fender v. Medtronit', 887 F.Supp. 1325 fn 1 {E.D. Ca\.1995}.

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814.20(|31(1!21. The FDA approves a PMA application only after extensive review by the
agency and an advisory committee composed of outside experts 21 C.F.R. § 814.40.2

97. In contrast, the FDA’s Pre-Market Notiii cation process is more abbreviated and involves less
FDA oversight This process requires applicants to submit descriptions of their devices and
other information necessary for the agency to determine whether the devices are substantially
equivalent Pre-Market NotiEcation applicants must also submit their proposed labeling _2_]
C.F.R. § 8§17.87. If the FDA determines that a device is substantially equivalent to a device
that was on the market prior to the enactment of the MDA in 1976, the applicant is dee to
market the device.

98. BMP-2 received PMA (PMA number PODOOS 8) for the lnfuse/BMP-Z Lumbar Tapered Fusion

Device, which PMA provided for limited use with specific requirements for its use on

individuals See Medtronic Package lnsert.

§COPE OF THE PMA AND PRODUCT LABELING
99. The PMA for BMP-2 provided that the product may only be used in patients with the following
characteristics:
d. Skeletally mature patient, AND
e. At levels LZ-Sl, AND
t`. Coniinned degenerative disc disease (DDD], AND
g. Using only an open anterior or anterior laparoscopic approach, AIND3

h. Six months of non-operative u'eatrnent prior to treatment with the device, AND

 

zl"`emz’er v. Med!ronic, 887 F.Supp. 1326 fn l (E.D. Cal.l995}.

3 The anterior interbody fusion approach was developed because the risk of non-union (pseudarthrosis) is significantly
higher in posterior approaches The biggest risk factor for fusion surgery is non-union.

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In combination with the metallic LT-CAGE.“

See Medtronic Package lnsert, “B~IDICATIONS.”

100. According to Medtronic’s package insert for BMP-Z/lnii.rse as well as other industry

literaturc, the following risks are associated with the use of BMP-Z/lniiise:

A.

B.

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Male Sterility

Cancer

Increascd progression of cancer

Suffocation of the cervical region

Bone fracture

Bowel/bladder problems

Loss of spinal mobility or function

Change in mental status

Damage to blood vessels and cardiovascular system compromise
Bxcessive bone mass blocking the ability to treat pain
Damage to internal organs and connective tissue

Death

. Respiratory problems

Disassembly and migration of components
Dural tears
Ectopic and exuberant bone formation

Fetal development complications (birth dcfects)

 

“ Instrumemed iirsions involve hardware and are more stable msions with a shorter recovery time than non-
inslrumcntcd iirsions.

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R. Foreign body (allergic) reaction
S. Gastrointestinal complications
T. Incisional complications
U. Infection
V. lnsuft`lation complications
W. Neurological system compromise
X. Non-union
Y. Delayed union
Z. Mal-union
AA.Change in curvature of spine
BB.Retrograde ejaculation
CC. Scars
DD. Tissue and nerve damage
EE.ltehing
FF. Pain
GG.Hematoma
HH. Anaphylactic reaction
ll. Elevated eryt]'rrocyte sedimentation rate
101 . lnjury Percentages:
j. Ectopic Bone Growth-GB%
k. lntlammatory Neuritis-i 5%
1. Osteolysis/Snbsidence-IB%

m. Acute Swelling-'?%

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n. Retrograde Ejaculation-Z%
o. 85% of time, BMP-2 implanted in off-label use
102. Not a single one of these risks in the last two paragraphs were ever explained to a single
patient at Children's Hospital by Dr. Durrani.
103. BMP-Z was NOT approved by the FDA for use in the cervical and thoracic spine and BMP-
2 was NO'I‘ safe or approved for use in children less than 21 years of age. ‘I'hese uses are

considered “oti`-label.”

“OFF-LABEL” USE

104. A use o`f a device is considered “off~label” if it is not approved under the Pre~Market
Approval process OR cleared for such use pursuant to 21 U.S.C. § 3600(t)(a1so known as “the
51 Ok premarket notiiicau'on process”).
105. lnfuse can be implanted in an off-label manner in three ways:
p. Approach/position: A.ny approach other than an anterior approach;
q. l’roduct: Failure to use LT-Cage (or any cage); mixing thMP-2 with other grai’ring
products like Allogratt or Autograft;
r. Discs: Use on multiple levels or on a level outside of L2-Si .
106. Dr. Durrani and the Hospitals in which he performed surgeries repeatedly used BMP»Z in

these non-FDA-approved manners.

THE NON-COMPLIAN§E WIIH :I:HE REGQL&TORY PROQESS

107. The PMA 000058 “Conditions of Approval” specifies the following condition: “Before
making any change affecting the safety or effectiveness of the device, submit a PMA
supplement for review and approval by the FDA [a] PMA supplement or alternate

submission shall comply with applicable requirements under 21 C.F.R. 814.39[.]"

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108. 21 C.F.R. 814.39 requires a PMA supplement pursuant to subsection (a)(l) for new
indications of use of the device and pursuant to subsection (a)(e) for changes in components

109. The PMA 000058 “Conditions of Approval" notes the post-marketing reporting
requirement imposed by 21 C.F.R. 814.84. particularly “Identitication of changes described in
21 C.F.R. 814.39[a).’-’ Medtronic did not comply with this requirement relating to the intended
uses and componentry.

110. The FDA can impose post-approval requirements in the PMA pursuant to 21 C.F.R.
814.82, end this fact results in the device being characterized as “restricted” pursuant to 21
U.S.C. § 360j{e) for purposes of 21 U.S.C. § 352(q). Section 352(q) states that any restricted
device that is distributed or oH'ered for sale with false or misleading advertising is
“rnisbranded.”

111. “Indicaticns for use" is a necessary part of the PMA application and the “lndications for
use” are required to be limited by the application Any different use is inconsistent with the
PMA.

112. A device that fails to meet the requirements of the PMA or 21 C.F.R. 814 is “adulterated“
as defined by 21 U.S.C. § 351(1).

l 13. 21 C.F.R. 801.6 detines a misleading statement related to a DIFFER.ENT device contained
in the label delivered with the device intended to be used will render the device to be used
misbranded.

114.- Medtronic did not apply for a PMA supplement, as required by the FDA generally and
PMA 000058 specifically, for the off-label uses, nor did it provide warnings of the risks known
about the oH`-label uses. All named Defendants in these cases knew about the occurrences of

off-label use.

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115. The PMA requires an application prior to marketing for new indicated uses by

incorporating the federal requirements and explicitly reciting the text of 21 C.F.R. 814.39 and

814.84 and by specifically stating the range of indicated uses on the PMA.

v`. MEDTRONIC

116. In or about 2001, Medtronic began preparing for the launch of two spinal fusion products,
PYRAMU) and lNFUSE (BMP-Z), which it projected would enjoy broad application with
spinal surgeons and their patients on a nationwide basis.

1 17. Medtronic anticipated that both products would initially be limited in application.

118. Motivated by greed and a desire to gain competitive advantage in the marketplace
Medtronic began a course of conduct designed to broaden the application of both products by
end-users. The course of conduct involved fraud, false statements, material misrepresentation,
and deceit for the purpose of broadening the sales of these products beyond that which the
usual acceptance within the scientific community or regulatory approval would otherwise
allow.

119. On or after July 2, 2002, Medtronic received notification that its Pre-Market Approval
application for its BMP-.'Z/Infuse bone graft products had been approved by the FDA. However,
such approval was limited to the application of the device from the L4 through Sl levels.
Further, the approval mandated the conduct ofpost-approval studies to evaluate the long-term
performance of the BMP-2 bone graft and to study the potential side effects and complications
such as the promotion of tumors by the bone morphogenetic protein component of BMP-Z.
Other studies were conducted as well. See “Allegations against Medtronic in the Unsealed

Mississippi Falsc Claims Case.”

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120, Medtronic engaged in a fraudulent course of conduct designed to maximize its revenues
from BMP-Z, regardless of whether it would eventually be allowed to remain on the market

121. One of the physicians Medtronic co-opted into its fraudulent scheme was a Thomas A.
Zdeblick, M.D. Dr. Zdeblick was an orthopedic surgeon whose invention, the LT-Cage, was
the only approved device to act as the delivery vehicle for BMP-2 into the body.

122. Dr. Zdebliclc enjoyed a position within the scientiiic community as a Key Opinion Lcader,
and he was both a practicing orthopedic surgeon and professor at the University of Wisconsin.

123. lln one of Dr. Zdebliclc’s first attempts to tout his LT-Cage and thMP-Z, which would
become the active ingredient in the ultimate Infusc/BMP-»Z product, he encountered some
drawbacks to his goal of promoting his and Medtronic’s products, which arose from the policy
of certain industry joumals, including the journal sz'ne, which followed industry standards
before printing peer-reviewed material. See article in the journal Spine, published in 2000.

124. Not only were the drawbacks related to industry publishing standards, but the National
Consumer Hcalth Information and Hcalth Promotion Act of 1976 enacted certain provisions at
42 U.S.C. § 300u, et seq., whereby the Fedcral Govemment had entered the tield of medical
research publication Such standards promulgated by the Secretary of the predecessor to the
U.S. Departrnent of Health and Human Services required that applications for grants and
contracts must be subject to “appropriate peer review.” See 42 U.S.C. § 300u-l.

125_ The drawbacks encountered with the peer~reviewed sz‘ne article were as follows:

a. Attribution that the study was “sponsored by Medtronic Sofamor Danek, lnc.;”
b. The study was conducted under FDA regulations, and was “...designed as a

prospective, multicenter, nonblinded, randomized, and controlled pilot study;" and

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c. lt was accompanied by a cautionary comment, or Point ofView, which minimized
the exuberance and import of the article.

126. 1a the article, BMP-?. was touted by Zdeblick and the cla-authors as the potential realization
cfa dream of ljr. Marshall Urist, a revered pioneer in the industry and discovcrer of BMP,
where it closed with the following: “. . .it is encouraging to note that Marshall Urist’s seminal
observation made more than 34 years ago may finally come to clinical fruition."

127. ln the Point of View, a Dr. lohn O’Bn`en of London questioned whether there could be
long-terre problems associated with the product He heated Zdeblick’s study with caution and
pointed out that simple plaster of Paris has achieved the same or similar results more than 50
years prior. He posited that, “[p]erhaps vascularization. ..fixation procedures are as important
as the biochemical composition of the ifiller'.’”

128. Vascularization is achieved through removal of the disc material between two vertebral
bodies and then the scraping of the surfaces of the vertebral bodies in a fusion procedure;
fixation is the process of securing the motion segment through medical hardware In other, if
the alternative proposed by Dr. O’Brien proved to achieve equivalent or better results, Zdeblick
and Medtronic’s brfuse/BMF-Z products would be useless and unnecessary

129. Certain efforts would follow in an attempt to alleviate the drawbacks encountered with the
2000 Spine journal article.

130. ln 2002, Dr. Zdeblick Was installed as the sole editor-in-chief of a medical journal known
prior to his installation as the Journai cfSpinaI Disorders. Pricr to his installation, the journal
enjoyed a fourteen year history under the co-editorship of Dr. Dan Spangler and Dr. Tom

Ducker. Once installed, Dr. Zdeblick successfully supplanted Drs. Dan Spengler and Tom

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Ducker and became the sole cditor-in-chief, a position which would enable him to have greater
control and would aid his participation in the fraudulent scheme

l3l. During this same time period, Dr. Zdeblick also enjoyed a position on the associate
editorial board of the medical journal sz’ne, the leading publication covering all disciplines
relating to the spine.

132. In one ofDr. Zdebliclc’s actions as editor-in-chief, he set about re-purposing the journal in _
a way that would aid him in the furtherance ofthe fraudulent scheme through the streamlining
of the publication process.

133. ln hutherance of the handulcnt scheme, Dr. Zdebiick re-purposed the journal and renamed
it the Jonmal of Spinal Dr'sorders and Technigue.s (JSDT), announcing that the new journal
was “entering a new partnership with sz‘ne.“ As part of this partnership, Spr'ne would
"continue to function as a broad-based scientific journa]” tailored to both clinicians and
scientists However, the Joumol afSpinal Disardars and Techniques would be directed solely
to physicians in clinical practice

134, Dr. chblick's stated goal was “to provide a fonun for up-to-date techniques...", and in
furtherance of that goal, Dr. Zdeblick announced that his journal would publish Class ll or
better clinical articles but would “occasionally accept cutting edge articles with less than one
year follow-up.” To justify this streamlined process, Dr. Zdeblick claimed as his goal the
ability of his journal “to keep up with the fast pace of progress in the treatment of spinal
patients.”

135. Arm-in-arm with Medtronic and others, Dr. Zdeblick would in short order abuse his

position of trust as the editor-in-chief of JSDT.

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136. ln the October 2002 edition, JSDT published an article entitled, “Anterior Lumbar
Interbody Fusion using thMP-Z with Tapered Interbody Cages.” This article was co-authored
by, among others, Curtis A. Dickman, M.D., who was a developer ofMedtronic’s PYRAMlD
plate and who has been paid significant sums by Medtronic through royalty agreements,
consulting agreementsl and education training and speaking agreements

137. ln addition to his interest in the PYRAMID plate, Dr. Diclonan had assisted Medtronic in
the approval process for lniirse/BMP-Z. As part of the pre-approval hearing process, Dr.
Diclcman and his Barrow Neurologica] Associates Group ofPhoenix, Arizona had submitted a
letter to the meeting of the FDA’s Orthopedics and Rehabilitation Devices Advisory Panel,
which met on January 10, 2002. ln that letter, Dr. Dickrnan represented that “approval of BMP
would provide a significant advance for patient outcome and satisfaction following spinal
fusion.”

138. ln the October 2002 issue of JSDT touting the berrch of Infr.rse/`BMP-.'Z, Zdebliclc and
others failed to disclose their financial ties to Medtronic, though industry standards require
such acknowledgement Not only did Dr. Zdeblick fail to disclose that he profited horn each
and every surgery which InfuselBMP-Z was used through rights in the exclusive delivery
vehicle, his LT-Cage, but no reference whatsoever to their financial ties to Medtronic was
made either by Dr. Zdeblick or Dr. Dicknran.

139. For years, the recognized gold standard for spinal bone grai~`ts has been the use of
autogenous bune, or bone harvested B'om the patient’s own iliac crest, or hip bone. Medtroru`c
designed to have its Infuse/BMP-R product supplant autogcnous bone as the gold standard in
the medical community, and utilized false statements, a h'audulent enterprise and the support

ofFederal hinds to do so.

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140. As part and parcel of Medt:ronic’s fraudulent scheme, the October 2002 study was
published in Dr. Zdeblick’s journal three months after Medtronic received FDA approval for
Irrfuse. As the article shows, it was actually received on March 28, 2002 or after Dr. Zdeblick
had accomplished installment as the editor-in-chief, and was accepted by l)r. chbliclc's
journal for publication on July 30, 2002.

l41. At the same time Dr. Zdeblick’s journal was publishing the initial article on Infuse, Dr.
Zdeblick was already iinalizing and preparing for subsequent publication a follow-up article
to tout lnfuse potentially as the new gold standard A second article, ctr-authored by Dr.
Zdebliclc and two other co-authors of the original ar't:'rcle, was entitled “Is Infuse Bone Gratt
Superior to Autograft Bone? An lntegrated Analysis of Clinical Trials using the LT-Cage
Lumbar Tapered Fusion Device.”

142. This second article was published in Vol. 2 of 2003 and once again, there was no mention
of Dr. Zdebliclr’s iinancial ties to Medtronic.

143. This second article would serve as the second covert advertisement for the Irrfuse product,
and the article states that “the purpose of our analysis was to investigate the potential statistical
superiority of lnii.rse bone graft to autogratt. . .”

144. This second article went on to announce the luly 2002 FDA approval of thl\/_[P-Z.

145. This article included as an “aclcnowledgmen ” an expression of gratitude to the physicians
“who provided patients for this study and to the clinic research group at Medtronic Sofamor
Danek for their help in data collection and statistical analyses.” However, the article still failed
to advise the medical community that some or all of the authors reaching these conclusions

touted as monumental had direct financial interests tied to those conclusions

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146. Rather, the failure to report these clear cont]icts of interest on the part of those holding
positions of trust both within the medical community and over patients was part of Medtronic’s
ii'audulent enterprise However, unchecked by appropriate peer review, Medtronic was able to
systematically accomplish their goals.

147 . In its 2003 Annual Report, and without recognizing that Zdebliclc was being paid by
Medtrom'c, Medtronic cited to Zdeblick’s 2003 as reporting that lnfuse “...rnay become the
new gold standard in spinal fusion surgery.”

148. By its 2006 Annual Report, if not earlier, Medtronic had removed all doubt, declaring that
after its introduction in 2002, “lnii.ise Bone Gratt quickly became the gold standard for certain
types of lumbar iiJsion.”

149. Medtronic’s fraudulent scheme was successful and resulted in a revenue stream ranging
from 700 to 900 million dollars per year.

150. It has been reported that around the same time these stories about Infuse were published,
editors at the Spine Iournal began receiving complaints from doctors around the country who
were pointing out contradictions between papers published by doctors with financial ties to
Medtronic and other data involving lniilse complications.’ See Jorrrnal Sentr'uel article oflohn
Fauber.

151. Through the use of these sham consulting, royalty and education/training agreements with
its physician agents in this fraudulent enterprise, Medtronic has reaped windfalls in the billions
of dollars Medtronic has used this fraudulent enterprise and civil conspiracy to drive its vast
protits and enhance its market position beyond that which it would have realized without
engaging willfully, knowingly and potentially deliberate, conscious, or reckless indifference

in the fraudulent enterprise and fraudulent concealmentl See Mississippi case.

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152. Defendants had full knowledge of all these facts pertaining to Medtronics.

VI. FDA PUBLIC H.EAL'I'H NOTIFICA'I] QN

153. On July l, 2008 the FDA issued a Public Health Notiiication entitled “Life-'Ihreatening
Complications Associated with Rccombinant Human B_one Morphogenetic Protein in Cervical
Spine Fusion."

154. This notification was sent to health care practitioners all across the United States wanting
ofthe complications associated with BMP-2, specifically when used in the cervical spine.
155. In the notification the FDA stated they received at least 38 reports of complications during

the prior four years with the use of BMP-2 in cervical spine fusions.

156. The complications were associated with swelling of the neck and throat areas, which
resulted in compression of the airway andfor neurological structures in the neck.

157. Some reports describe difliculty swallowing, breathing or speaking and severe dysphagia
following cervical spine fusion using BMP-Z products had also been reported.

158. The notification further stated that, “since the safety and effectiveness of thMP for
treatment of cervical spine conditions has not been demonstrated, and in light of the serious
adverse events described above, FDA recommends that practitioners either use approved
alternative treatments or consider enrolling as investigators in approved clinical studies.

159. The Notitication further emphasized the importance of tully informing patients of these
potential risks and said that patients treated with BMP~Z in the cervical spine should know:

s. The signs and symptoms of airway complications including difficulty breathing or
swallowing, or swelling of the neek, tongue, mouth, throat and shoulders or upper

chest area

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t. That they need to seek medical attention immediately at the first sign of an airway
complication
u. That they need to be especially watchiiil 2-14 days after the procedure when airway
complications are more likely to occur
v. thMP-Z (contained in Infuse Bone Graft) has received pre-market approval for
hision of the lumbar spine in skeletally mature patients with degenerative disc
disease at one level from L2-Sl and for healing of acute, open tibial shaft fractures
stabilized with an IM nail and treated within 14 days of the initial injury
160. Additionaily, BMP is not approved in any manner for use in patients who are skeletally
immature (<18 years of age) or pregnant
161. Dr. Durrani and the Hospitals ignored ALL of these warnings and used BMP-2 in cervical
spine surgeries, ehildren, and those with known compromising factors such as osteoporosis,
smoking, and diabetes
l 62. Furthennore, the Notification stated that the FDA requires hospitals and other user facilities
to report deaths and serious injuries associated with the use of medical devices.
163. The Hospitals that allowed Dr. Durrani re use BMP_:z`in mar facilities failed to rean any
complications resulting from his use cf BMP-Z.
VII. SENATE FINANCE COMM]TTEE REPORT
l64. Medtronic’s actions did not go utmoticed, and in June cf 2011 the Senate Finance
Committee began an investigation into the fraudulent actions of Medlronic.
165. Mcdtrcnic produced more than 5,000 documents pertaining to 13 different studies ofBMP-

2 for the investigation

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166. On 0ctober 25, 2012, Senate Finance Corurnittee Chainnan Max Baucus (D-Mont.) and
senior member Chuck Grasslcy (R-Iowa) released the results of their l6-month investigation
into Medtronic, which revealed questionable ties between the medical technology company
and the physician consultants tasked with testing and reviewing Medtronic products

167. The investigation revealed that Medtronic employees collaborated with physician authors
to edit and write segments of published studies on BMP-Z/lnfuse without publicly disclosing
this collaboration

168. These fraudulently-produced studies may have inaccurater represented BMP-Z’s risks and
may have placed added weight on the side effects of alternative treatments

169. The Senate investigation iin'ther found that Medtronic also maintained significantl
previously undisclosed financial ties with physicians who authored studies about BMP-Q,
making $210 million in payments to physicians over a lS-year period.

170. Senator Baucus stated, “Medtronic’s actions violate the trust patients have in their medical
care. Medical journal articles should convey an accurate picture cf the risks and benefits of
drugs and medical devices, but patients are at serious risk when companies distort the facts the
way Medtronic has. Patients everywhere will be better served by a more open, honest system
without this kind of collusion.”

17 l. Senator Grassley stated, “The findings also should prompt medical journals to take a very
preactive approach to accounting for the content of the articles along with the authorship of
the articles and the studies they feature These publications are prestigious and intluential, and
their standing rests on rigorous science and objectivity. lt’s in the interest of these journals to
take action, and the public will benefit from more transparency and accountability on their

palt.”

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172. Major indings of the investigation include:

a. Medtronic was involved in draii:ing, editjng, and shaping the content of medical
journal articles authored by its physician consultants who received signincant
amounts of money through royalties and consulting fees ii'om Medtronic. The_
company’s role in authoring or substantially editing these articles was not disclosed
in the published articles Medical journals should ensure that any industry role in
drading articles or contributions to authors is fully disclosed

b. Medtronic paid a total of approximately $2]0 million to physician authors of
Medtronic-sponsored studies from November 1996 through Decernber 2010 for
consulting royalty and other arrangements

c. An e-mail exchange shows that a Medtronic employee recommended against
publishing a complete list of adverse events, or side effects, possibly associated
with BMP-Z/]nfi.tse in a 2005 Journal ofBone and Joint Surgely article

d. Medtronic oflicials inserted language into studies that promoted BMP-Z as a better
technique than an alternative by emphasizing the pain associated with the
altemative.

e. Documents indicate that Medtronic prepared one expert‘s remarks to the FDA
advisory panel meeting prior to BMP-2 being approved. At the time, the expert Was
a private physician but was later hired to be a vice president at Medtronic in 2007.

t`. Medtronic documents show the company successfully attempted to adopt weaker
safety rules for a clinical trial studying BMIP»Z in the cervical spine that would have
allowed the company to continue the trial in the event that patients experienced

severe swelling in the neck.

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VH]. YODA STUDY

173. In response to the various controversies surrounding BMP-Z/Int`use, including a June 201 l
article in the journal Spine, the Yale University Open Data Access (YODA) team reached an
agreement for Medtronic to provide full individual participant data from all their trials of
thMP-2 and allow unrestricted independent re-analysis of this data.

174. The YODA study involved research teams at two universities -the University onorlc and
the Oregon Health and Sciencc University.

175. The review focused exclusively on the use of thMP-Z in patients undergoing spinal fusion
surgery for heatrnent of degenerative disc disease, spcndylolisthesis, or any other relevant
spinal condition.

176. The three main objectives ot` the study were: l) to examine the potential benefits of BMP-
2, 2) to examine the potential harms ofBMP-Z, and 3) to assess the reliability of the published
evidence base.

177. Medtronic submitted data from 17 studies, including 12 randomized controlled trials
(RCTs).

178. In total, the YODA study analyzed the data from 1,409 participantsl

179. Though the results showed moderate success with fusions as a result of BMP-?., the study
found that BMP-2 results in several different complications including: arthritis, implant-related
events, retrograde ejaculation, wound complications, and neurological, urogenital, and
vascular events

180. In regard to the alleged tampering with the peer-reviewed studies by Medtronic, the YODA
study found that only two out of twenty peer»reviewed journal publications reported a

comprehensive list of all adverse events that occurred during the studies

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lSl. Furthermore, the way in which adverse event data was presented in the literature was
inconsistentl and the rationale for presenting some adverse events but not others was rarely
clear.

_ 182. The study concluded that for the period up to 24 months after surgery, treatment with BMP-
2 increases the probability of successth fusion (according to Medtronic deEmtions and reports,
which the study noted “were subjective so it is not possible to confirm whether reported
successful fusicns truly were successiiil" see YODA Study, p. 35) but this does not translate
to clinically meaningful benefits in pain reduction, function, or quality of life The small
beneEts in these outcomes observed from six months onward come at the expense of more pain
in the immediate post-operative period and a possible increased risk ofcancer.

183. Even more relevant to the case against Dr. Durrani and the Hospitals is the YQDA study’s
conclusion that, “[i]t is very important that these indings are expressed clearly and discussed
with patients so that they can make informed choices about the type of surgery they would
prefer.” ld.

184. The University ofOregon Study determined that Infuse/BMP-.'Z is notbetter than Autograt’c,
while the University of York study determined that Infuse/BMP-Z offers only a slight and not
statistically significant advantage over Autogratt.

185. The YODA study concluded that Medtronic “misrepresented the effectiveness and harms
through selective reporting, duplicate publication, and underreporting."

186. Adverse event categories such as heterotopic bone t`ormation, osteolysis, and radiculin's
were not included in participant databases or internal reports; dierefore, the safety profile was

not fully assessed

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187. The YODA study further concluded that Medtronic was involved in drafting editing, and
shaping the content of medical journal articles on InfusefBMP-Z authored by its physician
consultants who received significant amounts of money through royalties and consulting fees
from Medtronic. The company’s significant role in authoiing or substantively editing these
articles was not disclosed in the published articles.

188. Medtronic paid a total of approximately $210 million to the physician authors of
Medtronic-sponsored studies on lnque from November 1996 through 2010 for consulting,
royalty and other arrangements

189. An email exchange showed that a Medtronic employee recommended against publishing a
complete list of adverse events or side effects possibly associated with lnfuse in a 2005 Joumal
ofBone and Jo¢'nt Surge:y article.

190. Medtronic officials inserted language into studies that promoted Intiise as a better
technique than an alternative procedure by overemphasizing the pain associated widi the
alternative procedure

191. Medtronic's actions violated the trust patients have in their medical care. Medical journal
articles should convey an accurate picture of the risks and benefits of drugs and medical
devices, but patients are at serious risk when companies distort the facts the way Medtronic
has sss ontch states senate committee on Fmance; october 2012.

192. Infuse was intended for a single level anterior lumbar interbody fusion performed with all
three components in a specific spinal region. The three components are a tapered metallic
spinal tiision cage (NOT PLASTIC), a recombinant human (BMP) bone Morphogenetic
Protein, and a carrier/scaffold for the BMP and resulting bone. The Infuse product is inserted

into the LT-CAGE Lumbar tapered Fusion Device component to form the complete lniiJse

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Bone Grat’t/LT*Cage Lumbar Tapered Fusion Device. These components must be used as a
system. The Ini"use Bone Grai’r component must not be uses without the LT-Cage Lumbar
Tapered Fusion Device component

193. BMP-2 is not supposed to be used in minors

194. BMP-Z is not supposed to be used with smokers and diabetics because of vascular slowing.

195. BMP-?. should not be used with women in child bearing years.

196. BM]°-Z is contraindicated for patients with a known hypersensitivity to thMP-Z and
should not be used in the vicinity of a resealed or extant turnor, in patients with active
malignancy, or in patients undergoing treatment for a malignancy.

lX. DR. DURRAN! §§ BMP-2

197. Despite all of these wanting signs, Dr. Durrani, with the hill knowledge of the Defendants,
continued to use BMP-2 in ways not approved by the FDA, or in art “off-label" manner.

198. As early as 2007, Dr. Durrani and UC Hcalth knew there were issues with BMP-2 because
insurance companies such as Anthem were reii.ising to pay for BMP-Z.

199. Medtronic provided in writing to Dr. Durrani and CAST the approved uses for
lnfusefBMP-Z.

200. However, Dr. Durrani and the Defendants continued to use BMP-2 in off-label ways,
including but not limited to:

a. Using BMP-Z/Infuse in children, despite Medtronic specifically requiring it be used
only in “skeletally mature patients;”

b. Using it outside the L2-Sl level of the spine;

c. lgnoring the requirement that BMP-Z/Iniiise only be used for Grade l spondylolisthesis

or Grade l retrolisthesis;

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d. Not requiring at least six months of non-operative treatment prior to the use of BMP-
2/]nfuse;

e. Using BMP-E/Infuse without the required cage;

f. Not using the “carrier scafl`old" in conjunction with BMP-Z/Inti.lse as required;

g. Using BMP-Z/Infuse without proper training despite Medtronic’s warning, “Caution:
Federal (USA) law restricts this device to sale by or on the order of a physician with
appropriate training or experience."

201. Dr. Durrani was a paid consultant for Medtronic.

202. According to Dr. Durrani’s own deposition testimony in several cases, Medtronic required
one of their representatives to be present in the operating room when its product BMP-lenfuse
is used.

203. Because Medtronic representatives were present in these surgeries, Medtronic knew when
Dr. Durrani used BMP-2/Infuse outside the approved uses according to Medtronic’s own
guidelines

204. Dr. Durrani was encouraged by Medtronic to obtain peer review and published studies &om
Medtronic sales representatives to support his use ofBMP-leniirse.

205. Dr. Durrani was encouraged by Medtronic to be an advocate for his patients and describe
how BMP-Z/Iniiise technology can benth them.

206. When asked how he got his Medtronic grant, Dr. Durrani responded, "You apply to the
Medtronic’s corporate and say this is what we want to do, like everybody else in the country
applies, and then they come and evaluate the thing and say, “Okay, we think it’s worthy. Wc’ll

give you the grant"

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207. ln regard to his role as a Medtronic consultant, Dr. Durrani stated, “lf there are certain
products that they help us in developing, then they will come to us for a certain consultant role
for a certain product development.”

208. Dr. Durrani also stated, “I was involved in the development ofthe minimally invasive spine _
instrumentation.“

209. Dr. Durrani gave conflicting reports on his financial relationship with Medtronic.

21 O. In a deposition, when asked when his relationship with Medtronic began, Dr. Durrani
responded “2UOO-it’s 2003, '04. Something in that category. l’m not sure. It's on the Medtronic
website. You can go look at it."

211. Medtronic’s website has no information regarding their relationship with Dr. Durrani.

2}2. In another deposition, Dr. Durrani stated he began his relationship with Medtronic in “2005
or ’06.”

213. Dr. Durrani also gave conflicting reports on how much compensation he received from
Medtronic for his consultation servicesl

214. In one deposition, Dr. Durrani stated in response to an inquiry as to how much payment he
received, “It’s a standard compensation Again, it’s on the website, how much they’ve paid
us,”

215. Again, this information is not available on the Medtronic website.

216, ln another deposition, when asked if he received income from Medtronic, Dr. Durrani
replied, "No, I don’t."

217. When questioned further if he received a fee as a consultant, he stated, “If you do a work,

there is a contractual obligation that they have to pay you. As l told you in my last deposition,

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they did declare it on their website, so you can actually go on the website and see how much
they paid.”

218. ln another deposition, Dr. Durrani stated that he reoeived, “less than $10,000 in ten years”
from M_edtronic.

219. An ernail dated luly 30, 2008 from Medtronic Senior Product Manager Katie Stamps to
Dr. Durrani states that she “is in the process of working on the renewal of your [Dr. Durrani’s]
consulting agreement." As stated, this information is not available on Medtronic’s website, nor
is any information relating to Dr. Durrani‘s role as a consultant for Medtronic.

220. A CCHMC packet relating to its Orthopedics department indicated that Dr. Durrani
received $60,000 in grants, contracts, or industry agreements ii'orn Medtronic Sofamcr Danek
in FY 2008.

221. Financial information discovered concerning Dr. Durrani’s relationship with Medtronic
was found in Dr. Durrani’s biography on the website for the Orthopaedic & Spine Institute,
which Dr. Durrani currently operates in Fakistan. The biography states that “Dr. Atiq Dr.
-Durra.ni has also received the Clinical Spine Fellowship Grant by the Departrnent of
Orthopaedic Surgery which was funded by Medtronic Sofarnor Da.nek with a budget of
$59,1'?0 per year.” See ht_tp://www.osi.com.pk/doctor/dr-atig-Dr. Durrani-mdl.

222. When a request was made to Medtronic regarding its affiliation with Dr. Durrani, the
Medtronic Supplier Relations Tearn stated that Dr. Durrani’s “narne [is] not listed in our
systel'n.”

223. Medtronic further responded to the Deters Law Finn’s request that the firm would need a
“Vendor I.D. Nurnber," which neither Medtronic nor any other party has provided.

224. David Rattigan, was Dr. Durrani’s main Medtronic representative from Bahler Medica.l.

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225. David Rattigan and Medtronic have the same lawyer. Despite the Deters Law Firm’s
willingness to cooperate in scheduling the date for a deposition, they have reiirsed until
recently. Mr. Rattigarr’s deposition was taken June 5, 2015.

226. ln sununary, clients of the Deters Law Firm, with the full knowledge and intentional
consent of all Defendants, became unsuspecting experiments for real world testing of
Medtronic hardware and BMP-?., by and through Dr. Durrani and CAST, who had secret
financial connections to Medtronic, improper motives, and submitted false claims. The
government paid for many of these improper and unregulated experiments as a result of the
false claims made by Dr. Durrani, with the knowledge of Medtronic, under the veil of
“rnedically necessary” surgeries.

227. Despite repeated requests, Medtronic has rehised to cooperate in providing any requested
information and is actively downplaying their connections to Dr. Durraui.

X. THE DEFEN'DAN'I`S AND BMP-2

 

228. The purpose of the background information on the following Defendants and BMP-2
concerning other hospitals is to show the egregious methods, which upon information and belief
were used at all hospitals

229. The Defendants allowed and encouraged these practices by Dr. Durrani for the sole purpose
of money and greed.

230. David Rattigan was always present in Dr. Durrani’s operating rooms as a representative of
Medtronic.

231 . David Rattigan’s sole job was to deliver the BMPQIInfuse to the Hospitals and make sine

that it was inserted correctly into the patient

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232. David Rattigan’s presence in the OR further supports the Det`endants awareness of Dr.
Durrani’s fraudulent use of BMP-?./lnfuse.
233. Informed Consent for Surgical or Medieal Procedure and Sedation:

lt is the responsiny of the attending physician to obtain informed consent prior to the procedure
The patient, or hisfher representative, will be advised by »hisfher physician of:

a. The explanation of the procedure
b. The benefits of the procedure
c. The potential problems that might occur during recuperation

d. The risks and side effects of the procedure which could include hut are not limited
to severe blood loss, infection, stroke or death.

e. The benefits, risks and side effect of alternative procedures including the
consequences of declining this procedure or any altemative procedures

f. The likelihood of achieving satisfactory results
Completion of the “Consent to Hospital and Medical Treannent” form to examine and treat is NOT
sufficient as consent to perform a surgical procedure, invasive procedure, or for medical regimens
of substantial risk or that are the subject of human investigation or research.
234. The Det`endants had the responsibility to carry out these consent rules.
235. Dr. Durrani oftentimes used BMP-»Z “off-label” when performing surgeries.
236. BMP-2 is manufactured, marketed, sold and distributed by Defendant Medtronic under
the trade name “Infuse."
23 7. Dr. Durrani is a consultant for Medtronic.
238. Defendants did not inform Plaintiffs of'Durrani‘s financial interest, conflicts of interest or
consulting arrangement with Medtronic.
239. Medtronic, provided in writing to Dr. Durrani the approved uses for BMP-2, the

substance also referred to as lnfuse, which is a bone morphogenic protein, used as an artificial

substitute for bone grading in spine surgeries.

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240. BMP-Z is not approved by the Food and Drug Administration for use in the cervical and

thoracic spine.

241. BMP-Z is neither safe nor approved for use on children less than twenty one (21) years of
age.

242. For use in spinal surgery, BMP-2/Infuse is approved by the FDA for a limited procedure,
performed on a limited area of the spine, using speciEc components Speciiieal]y, the FDA
approved Infuse for one procedure of the spine: Anterior Lumbar lnterbody Fusion (“ALIF” or
"Anterior" approach); and only in one area of the spine: L4 to S l; and only when used in
conjunction with FDA-Approved Components: LT~CAGE Lumbar Tapered Fusion Device
Component (“LT-CAGE“)

243. Use of lnfuse in cervical or thoracic surgery, or use through the back (posterior), or side
(lateral), or on areas of the spine outside of the L4~Sl region (e.g., the cervical spine), or using
components other than or in addition to the LT-CAGE is not approved by the FDA, and thus
such procedures and!or use ofnon-FDA approved componentry is termed “oft`-label.”

244. When used ofi`-label, Infuse frequently causes excessive or uncontrolled (also referred to
as "‘ectopic" or "exuberant”) bone growth on or around the spinal cord. When nerves are
compressed by such excessive bone growth, a patient can experience among other adverse
events, intractable pain, paralysis, spasms, and cramps in lirnbs.

245. The product packaging for BlV[P-Z/Infuse indicates it causes an increased risk of cancer
four (4) times greater than other bone graft alternatives

246. Dr. Durrani and Children’s Hospital personnel did not disclose to Plaintiffs their intent to
use BMP-2flnfuse, and ftu'ther, did not disclose their intent to use BMP-2/Iniilse in a way not

approved by the FDA.

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247. Dr. Durrani used BMP-Z in Plaintiff in a manner not approved by Medtronic or the FDA.

248'. Det`endants did not inform Plaintil"t`s that Dr. Durrani used Iniirse!BMP-Z in his surgeries

249. Plaintiii`s would not have allowed BMP-Z to be used by Dr. Durrani in his surgery in a

manner that was not approved by the _FDA or Medtronic, Iniirse/BMP-Z’s manufacturer.

250. Plaintiffs would not have consented to the use ofBMP-Z in Plaintiff’s body if informed

of the risks by Dr. Dm'rani or any Children’s Hospital personncl.

251 . The written informed consent of Dr. Dmrarn signed by Plaintit`fs lacked the disclosure of

Indlse/BMP»Z’s use in his procedures

252. Plaintii:`fs never received a verbal disclosure cflnii.lse/BMP-Z from Dr. Durrani or any

Children’s Hospital personnel.

253. Medtronic specifically required Ini`use/BMP-Z only bc used in "skeletally mature

patients“ with-degenerative disc disease ‘

254. Medtronic required at least six (6) months of non-operative treatment prior to use of

Infuse/BMP-Z.

255 . Dr. Durrani regularly used hifuselBMP-Z without this six (6) month non-operative

treahnent.

256. Medtronic required BMP-Z always be used in conjunction with a metal LT cage.

257. Dr. Durrani regularly used BMP-Z without a proper LT cage in his surgeries
INFUSEIBMP-g

258. Dr. Durrani oftentimes used BMP-.'Z “off-labe ” when performing surgeries

259. BMP~Z is manufactured, marketcd, sold and distributed by Det`endant Medtronic under

the trade name “Infuse."

260. Dr. Durrani is a consultant for Medtronic

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261. Defenda.nts did not inform Plaintiff of Durrani's financial interest1 conflicts of interest or
consulting arrangement with Medtronic

262. Medtronic, provided in writing to Dr. Durrani and CAST the approved uses for BMP-2,
the substance also referred to as lnfuse, which is a bone mcrphogcnic protein, used as an
artificial substitute for bone graftjng in spine surgerics.

263. BMP-2 is not approved by the Focd and Drug Administration for use in the cervical and
thoracic spine.

264. BMl-"-2 is neither safe nor approved for use on children less than twenty one (21) years of
age.

265. For use in spinal surgery, BMP-Z!Infuse is approved by the FDA for a limited procedure,
performed on a limited area cf the spine, using specific components Specihcally, the FDA
approved lnfuse for one procedure of the spine: Anterior Lumbar lnterbody Fusion (“ALLF” or
"Anterior" approach); and only in one area of the spine: L4 to Sl; and only when used in
conjunction with FDA-Approved Components: LT-CAGE Lumbar Tapered Fnsioo Device
Component (“LT-CAGE")

266. Use of Inii.lsc in cervical or thoracic surgery, or use through the back (posterior), or side
(latera]), or on areas of the spine outside of the L4-Sl region (e,g., the cervical spine), or using
components other than or in addition to the LT-CAGE is not approved by the FDA, and thus
such procedures andfor use of non-FDA approved componentry is termed “off-labcl.”

267. thn used off-label, lnfuse frequently causes excessive or uncontrolled (also referred to
as “ectopic" cr “exuberant”) bone growth on or around the spinal cord. When nerves are
compressed by such excessive bone growth, a patient can experience, among other adverse

events, miractable pain, paralysis, spasms, and cramps in limbs.

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268. The product packaging for BMP-?/lnt`use indicates it causes an increased risk cf cancer
four (4) times greater than other bone graft alternatives

269. Dr. Durrani, CAST staff and employees, and J carney Lite personnel did not disclose to
Plaintiff their intent to use BMP-Z/Infuse, and further, did not disclose their intent to use BMP-
lllnfuse in a way not approved by the FDA.

270. Dr. Durrani used BMP~2 in Plaintlff" in manners not approved by Medtronic or the FDA.
271. Defendants did not inform Plaintiif that Dr. Durrani used Inlese/BMP-2 in her surgery.
272. Plaintiff would not have allowed BMP-2 to be used by Dr. Durrani in her surgery in a
manner that was not approved by the FDA or Medtronic, Int`uselBMP-Z’s manufacturer.

273. Plaintiff would not have consented to the use of BMP-Z in her body if informed of the
risks by Dr. Durrani, CAST staff and empl oyees, or any qurncyLite personnel

274. The written informed consent of Dr. Durrani, CAST, and Journey Lite signed by Plaintiff
lacked the disclosure of Infuse/BMP-Z’s use in her procedure

275. Plaintiff never received a verbal disclosure of Infuse/BMP-Z from Dr. Durrani, CAST
staff and employees, or any Journey Lite personnel.

276. Medtronic speciiically required lniilsc/BMP-2 only be used in "skeletally mature

patten " with degenerative disc disease

277. Medtronic required at least six (6] months ofnon-operative treatment prior to use of
lnfusclBMP-Z.

278. Dr. Durrani regularly used lnfuse/BMP-Z without this six (6) month non-operative
treatment

279. Medtronic required BMP-2 always be used in conjunction with a metal LT cage.

280. Dr. Durrani regularly used BMP-2 without a proper LT cage in his surgeries.

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PUREG§E
281. Dr. Durrani oftentimes used Puregen when performing surgeries.

282. Puregen is a product produced by Alphatec Spine.

2_83. Dr. Durrani was and is a paid consultant for Alphatec Spine.

2814l Dr. Durrani has an ownership stake in the A.Iphatec Spine.

285. Puregen has never been approved by the FDA for any human use.

286. Puregen is now removed from the market for any use.

287. Dr. Durrani used the product Puregen as bone graft substitute similar to Infuse/BMP-2
during spinal surgeries

288. Dr. Durrani, CAST staff and employees, and Journey Lite personnel did not disclose their
intent to use Puregen, nor did they inform Plainti)?f that it was a product that was not approved by
the FDA for human use.

289. Dr. Durrani used Puregcn in Plaintiff` in manners not approved by the FDA.

290. Plainti&' was not informed by Dr. Durrani, CAST staff and employees, or any Journey
Lite personnel that Dr. Durrani used Puregen in Plaintift"s smgeries.

291. Plaintift` would not have allowed Puregen to be used by Dr. Durrani in her surgeries in a
manner that was not approved by the FDA.

292. Plaintiff would not have consented to the use ofPuregen in her body if informed of the
risks by Dr. Durrani, CAST staff and employees, or any Journey Lite personnel.

293. The written informed consent of Dr. Durrani and CAST signed by Plaintift` lacked the
disclosure of Puregen’s use in her procedures

294. Plaintiff never received a verbal disclosure of Puregen from Dr. Durrani, CAST staff and

employees, or any Joumey Lite personnel.

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DR. DURR.ANI COUNTS:

 

COUNT I: NEGLIGENCE
295. Defendant Dr. Durrani owed his patient, Plaintiff, the duty to exercise the degree of skill,
care, and diligence an ordinarily prudent health care provider would have exercised under like or
similar circtnnstances.
295. Defendant Dr. Durrani breached his duty by failing to exercise the requisite degree of
skill, care and diligence that an ordinarin prudent health ’care provider would have exercised
under same or similar circumstances through, among other things, negligent diagnosis, medical
mismanagement and mistreatment of Plainti{"t', including but not limited to improper selection for
surgery, improper performance of the surgeries, and improper follow-up care addressing a
patient’s concems.
297. As a direct and proximate result of the aforementioned negligence and deviation from the
standard of care on the part of the Defendant Dr. Durrani, Plaintiff sustained all damages
requested in the prayer for relief.

COUNT II: BATTERY

298. Dr. Durrani committed battery against Plaintift` by performing surgery that was
nnnecessary, contraindicated for Piaintiff' s medical condition, and for which he did not properly
obtain informed consent, inter alia, by using Infuse/BMP-Z, PureGen and/or Baxano in ways and
for surgeries not approved by the FDA and medical community, and by the failure to provide this
information to Plaintift'_
299. Plaintit’t` would not have agreed to the surgery if she knew the surgery was unnecessary, not

approved by the FDA, and not indicated

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300. As a direct and proximate result of the aforementioned battery by Dr. Durrani, Plaintiff
sustained all damages requested in the prayer for relief.

COUNT lII: LACK OF INFORMED CONSENT
301. The infonued consent forms horn Dr. Durrani and CAST, which they required Plaintiff
to sign, failed to tirlly cover all the information necessary and required for the procedures and
surgical procedures performed by Dr. Durrani. Dr. Durrani and CAST each required an
informed consent release.
302. In addition, no one verbally informed Plaintiffof the information and risks required for
informed consent at the time of or before the Plaintiff's surgery.
303. Dr. Durrani failed to inform Plain`tiff of material risks and dangers inherent or potentially
involved with her surgery and procedures
304. Plaintiff subsequently developed severe and grievous injuries as a direct and proximate
result of lack of informed consent.
305. I-Iad Plaintiff been appropriately informed of the need or lack of need for surgery and

other procedures and the risks of the procedures, Plaintiff would not have undergone the surgery

or procedures
COUNT IV: ]NTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
306. Dr. Durrani’s conduct as described above was intentional and reckless
307. lt is outrageous and offends against the generally accepted standards of morality.
308. lt was the proximate and actual cause of Plaintift’ s psychological injuries, -otional
injun' es, mental anguish, sufferingl and distress.
309. Plaintiff suffered severe distress and anguish so serious and of a nature that no reasonable

man or woman would be expected to eudure.

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COUNT V: FRAUD
310. Dr. Durrani made material, false representations to Plaintift` and her insurance company
related to Plaintift’s n'eanncnt including: stating the surgery was necessary, that Dr. Durrani
“could tix” Plaintiff, that more conservative treatment was unnecessary and liitile, that the
surgery would be simple or was “no big deal”, that Plaintiff would be walking normally within
days after each surgery, that the procedures were medically necessary and accurately reported on
the billing to thc insurance company, that the surgeries were successful, and that Plaintiff was
medically stable and ready to be discharger.ll
311. Dr. Durrani also concealed the potential use of lnfuse!BMP-Z and/or Puregen in
Plaintiff’s surgeries when he had a duty to disclose to Plaintiff his planned use of the same.
312. These misrepresentations andlor coacealments were material to Plaintiff because they
directly induced the Plaintiff to undergo her surgery
313. Dr. Durrani knew or should have known such representations were false, and/or made the
misrepresentations with utter disregard and recklessness as to their truth that knowledge of their
falsity may be inferred
314. Dr. Durrani made the misrepresentations before, during, and after the surgery, with the
intent of misleading Plaintiff and her insurance company into relying upon them. Specifically,
the misrepresentations were made to induce payment by the insurance company, without which
Dr. Durrani Would not have performed the surgeries, and to induce Plaintiff to undergo `the
surgery without regard to medical necessity and only for the purpose of receiving payment
315. The misrepresentations and/or concealman were made during the Plaintift’s office visits

at Dr- Durrani’s CAST offices and/or at Journey Lite.

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316. Plaintiff was justified in her reliance on the misrepresentations because a patient has a
right to trust their doctor and that the facility is overseeing the doctor to ensure the patients of
that doctor can trust the facility.
31?. As a direct and proximate result of the aforementioned fraud, Plaintift` did undergo
surgery, which was paid for in whole or in part by her insurance company, and suffered all
damages requested in the prayer for relief

COUNT VI: SPOLIATION OF EVIDENCE
318. Dr. Durrani willfully altered, destroyed, delaycd, hid, modiEed and/or spoiled (“spoiled”)
Plaintii‘t" s records, billing records, emails, paperwork and related evidence.
319. Dr. Durrani spoiled evidence with knowledge that there was pending or probable
litigation involving PlaintiH`.
320. Dr. Durrani’s conduct was designed to disrupt PlaintifPs potential and/or actual case, and
did in fact and proximately cause disruption, damages and harm to Plaintiff.

COUNT VII: LOSS OF CONSORTIUM

321 . At all times relevant, the Plaintiii°`s were married.
322. As a result of the wrongii.il acts and omissions of Dr. Durrani, Plaintiffs were caused to
suffer, and will continue to suffer in the future, loss of consortium, loss of society, loss of
affection, loss ofassistance, and loss of conjugal fellowship, all to the detriment of Plaintiffs’
marital relationship
323. All the aforesaid injuries and damages were caused proximater by the acts and

omissions of Dr. Durrani.

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CAST COUN:[ S:
COUNT I: VICARIOUS LIABI'LITY

324. At all times relevant, Defendant Dr. Durrani was an agent, andlor employee of CAST.
325. Dr. Durrani is in'fact, the owner ofCAST.
326. Defendant Dr. Durrani was performing within the scope of his employment with CAST
during the care and treatment of Plaintift`.
327. Defendant CAST is responsible for harm caused by acts of its employees for conduct that
was within the scope of employment under the theory of respondeat superior.
328. Defendant CAST is vicariously liable for the acts ofDefendant Dr. Durrani alleged in
this Complaint including all of the counts asserted against Dr. Durrani directly.
329. As a direct and proximate result of Defendant CAS'I"s acts and omissi ons, Plaintifi`
sustained all damages requested in the prayer for relief.

COUNT 1]: N'EGLIGENT HIRING, RETEN'I'ION & SUPERVISION
33 0. CAST provided Dr. Durrani, inter alia1 financial support, control, medical facilities,
billing and insurance payment support, staff support, medicines, and tangible items for use on
patients
331. CAST and Dr. Durrani participated in experiments using lnfuse/BMP-Z and/or Puregen
bone graft on patients, including Plaintiff, without obtaining proper informed consent thereby
causing-harm to Plaintiff.
332. CAST breached its duty to Plaintifl`, inter alia, by not supervising or controlling the
actions ofDr. Durrani and the doctors, nurses, staft`, and those with privileges, during the
medical treatment ofPlaintiffat CAST.

333. The Safe Medical Device Act required entities such as CAST to report serious injuries,

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serious illnesses, and deaths related to failed medical devices to the FDA and the manufacturer;
this was never done.
334. Such disregard for and violations of federal law represents strong evidence that CAST
negligently hired, retained and supervised Dr. Durrani.
335 . As a direct and proximate result of the acts and omissions herein described, including but
not limited to failure to properly supervise medical treatment by Dr. Durrani, Plaintiff sustained
all damages requested in the prayer for relief.

COUNT III: FRAUD
336. CAST sent out billing to Plaintift’s insurance company alter the surgeries at lourney Lite.
337. The exact dates these medical hills were sent out are ret]ected in those medical bills
338. 'I'hese bills constituted affirmative representations by CAST that the charges related to
Plaintiff's surgeries were medically appropriate and properly documented
339. The bills were sent with the knowledge of CAST that in fact Plaintiff's surgeries were not
appropriately billed and documented and that the services rendered at Joumey Lite associated
with Dr. Durrani were not appropriate
340. The bills sent by CAST to Plaintiff falsely represented that Pla.intii‘f's surgeries were
appropriately indicated, performed and medically necessary in contra-indication of the standard
of care.
34l. Plaintifi` relied on the facility holding Dr. Durrani out as a surgeon and allowing him to
perform surgeries at its health care facility as assurance the facility was overseeing Dr. Durrani,
vouching for his surgical abilities, and iiirther was appropriately billing Plaintiff for CAST’s

services in association with Dr. Durrani’s surgery.

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342. As a direct and proximate result of this reliance on the billing of CAST, Plaintift` incurred
medical bills that she otherwise would not have incurred.

343. CAST also either concealed from Plaintiif that they knew about Dr. Durrani, including
that lnfuse/BMP-Z and/or Puregen would be used in PIaintift‘s surgeries, or misrepresented to
Plaintiff the nature of the surgeries, and the particular risks that were involved therein.

344. CAST’s concealments and misrepresentations regarding lnfuselBMP-z and/or Puregen
and the nature and risks of Plaintiff’s surgeries were material facts.

345. Because of its superior position and professional role as a medical service provider,
CAST had a duty to disclose these material facts to Plaintiff and a duty to retiain from
misrepresenting such material facts to Plaintiff.

346. CAST intentionally concealed and/or misrepresented said material facts with the intent to
defraud Plaintiff in order to induce Plaintiff to undergo the surgeries, and thereby profited horn
the surgeries and procedures Dr. Durrani performed on Plaintiff at loumey Lite.

347. Plaintiff was unaware that BMP-2 andfor Puregen would be used in Plaintiff’s surgeries
and therefore, was unaware of the health risks of Infuse/BMP-Z and/or Puregen’s use in
Plaintiff`s spine.

348. Had Plaintiff known before Plaintift’s surgeries that Infi.rse/BMP-»$Z and/or Puregen would
be used in Plaintiff`s spine and informed of the speciiic, harrntiil risks flowing therefrom,
Plaintifl' would not have undergone the surgery with Dr. Durrani at .T carney Lite.

349. Upon information and belief, Plaintiff believes the bills requested by Plaintiff will
indicate that CAS'I` falsely represented that Plaintifi’s surgery was appropriately indicated,

perfonr_red, and medically necessary in contra-indication of the standard of care.

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350. Plaintiii` is still awaiting billing from CAST reflecting the exact totals charged for the use
ofBMP-2 on Plaintiii`.
351 . As a direct and proximate result of the fraud against plaintiff by CAST, Plaintiff
sustained all damages requested in the prayer for relief.

COUNT IV: DHIO CONSUMER SALES PRDTECTION ACT
352. Although the Ohio Consumer Sales Protection statutes O.R.C 1345.01 et seq. exempts
physicians, a transaction between a hospital and a patient/consumer is not clearly exempted
3 53. CAST’s services rendered to Piaintiff constitute a “consumer tr‘ansaction” as defined in
ORC Section 1345.01(A).
354. CAST omitted suppressed and concealed ii'om Plaintiff facts with the intent that Plaintiii`
rely on these omissions, suppressions and concealments as set forth herein.
355. CAST’s misrepresentations, audits omissions, suppressions and concealments of fact, as
described above, constituted unfair, deceptive and unconscionable acts and practices in violation
ofO.R.C 1345.02 and 1345.03 and to Substantive Rules and case law.
356. CAST was fully aware of its actions.
357. CAST- was fully aware that Plaintiff was induced by and relied upon CAST’s
representations at the time CAST was engaged by Plaintiff.
358. Had Plaintiffbeen aware that CAST’s representations as set forth above were untrue1
Piaintiffwould not have used the services of Defendants.
359. CAST, through its agency and employees knowingly committed the unfair, deceptive
and/or unconscionable acts and practices described above.
360. CAST's actions were not the result of any bona fide errors.

361. As a result of CAST’s unfair, deceptive and unconscionable acts and practices, Plaintiff

has suffered and continues to suffer damages, which include, but arc not limited to the following:

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a. Loss of money paid
b. Severe aggravation and inconveniences
c. Under O.R.C. 1345.0] Plaintiff is entitled to:
i. An order requiring CAST restore to Plaintifl` all money received from

Plaintiff plus three times actual damages and/or actualfstatutory damages
for each violation;
ii. All incidental and consequential damages incurred by Plaintiff;
iii. All reasonable attomeys’ fees, witness fees, court costs and other fees
incurred;
iv. Such other and further relief that this Court deems just and appropriate
COUNT V: SPOLIATION OF EVIDENCE
362. CAST, through its agents and employees, willfully altered, destroyed, delayed, hid,
moditied and/or spoiled (“spoiled”) Plaintiff’s reeords, billing records, emails, paperwork and
related evidence
363. CAST, through its agents and employees, spoiled evidence with knowledge that there
was pending or probable litigation involving Plainti{i".
364. CAST’s conduct was designed to disrupt Plaintiii"s potential and/or actual case, and did
in fact and proximately cause disruption, damages and harm to Plaintift`.
COUNT Vl: LOSS OF CONSORTIUM

365. At all times relevant, the Plaintiffs were married

366. As a result of the wrongti.d acts and omissions of Dr. Durrani and CAST, Plaintiffs were
caused to suffer, and will continue to suffer in the iiitm‘e, loss cf consortium, loss of society, loss
of affection, loss cf assistance, and loss of conjugal fellowship, all to the detriment of Plaintiffs’

marital relationship.

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367. All the aforesaid injuries and damages were caused proximately by the acts and

omissions of Dr. Durrani and CAST.

.}OURNEY LlTE, LLC CO§§TS:
COUNT I: NEGLIGENCE

368. Joumey Lite owed their patient, Plaintiff, through its agents and employees the duty to
exercise the degree of skill, care, and diligence an ordinarily prudent health care provider would
have exercised under like or similar circumstances

359. Joumey Lite acting through its agents and employees breached their duty by failing to
exercise the requisite degree of slcill, care and diligence that an ordinarily prudent health care
provider would have exercised under same or similar circumstances through, among other things,
negligent diagnosis, medical mismanagement and mistreatment ofPlaintiff, including but not
limited to improper selection for surgeries, improper performance of the surgery, improper
assistance during Plaintiff’ s surgeries and improper follow up care addressing a patient’s
concerns

370. The agents and employees who deviated from the standard of care include nurses,
physician assistants, residents and other hospital personnel who participated in Plaintiff’s
surgeries.

371. The management, employees, nurses, teehnicians, agents and all staff during the
scope of their employment andfor agency of J carney Lite's knowledge and approval, either knew
or should have known the surgeries were not medically necessary based upon Dr. Durrani’s
known practices; the pre-cp radiology; the pre-op evaluation and assessment; and the violation of
their responsibility under the bylaws, rules, regulations and policies of Joumey Lite.

372. As direct and proximate result of the aforementioned negligence and deviation from the

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standard of care by the agents and employees of Joumey Lite, Plaintiff sustained all damages
requested in the prayer for relief.

COUNT ]I: NEGLIGENT CREDENTIALING, SUPERVISIGN, & RETENTION
373. As described in the Counts asserted directly against Dr. Durrani, the actions ofDr.
Durrani with respect to Plaintiff constitute medical negligence, lack of informed consent, battery,
and fraud.
374. Joumey Lite negligently credentialed, supervised and retained Dr. Durrani as a
credentialed physician by:

a. Violating their JCAI-IO rules by allowing Dr. Durrani to repeatedly violate the
Joumey Lite bylaws with its full knowledge of the same;

b. Failing to adequately review, look into, and otherwise investigate Dr. Durrani’s
educational background, work history and peer reviews when he applied and
reapplied for privileges at Joumey Lite;

c. lgnoring complaints about Dr. Durrani’s treatment of patients reported to it by
Joumey Lite staft', doctors, Dr. Durrani's patients and by others;

d. lgnoring information they knew or should have known pertaining to Dr.
Durrani’s previous privileged time at other Cincinnati area hospitals, including
Children’s Hospital, University Hospital, Deaconess Hospital, Good Samarltan
Hospital and Chn'st Hospital.

375. The Safe Medical Device Act required entities such as Joumey Lite to report serious
injuries, serious illnesses, and deaths related to failed medical devices to the FDA and the

manufacturer; this was never done.

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376. As a direct and proximate result of the negligent credentialing, supervision, and

retention of Dr. Dmrani, Plaintiffs sustained all damages requested in the prayer rior relief
COUNT III: FRAUD

377_. Ohio Administrative Code 3701'83-07(A)(5) states, “Each patient shall receive, if

requested, a detailed explanation of facility charges including an itemized bill for services

rendered.

378. The bills sent to Plainu'ff, alter multiple requests, were in violation Ohio Administrative

code 3701-83-07(A)(5).

379. Upon information and belief, PlaintiH` believes that Dr. Durrani implanted BMP-Zlor

Puregen into Plaintif"f.

380. Even after Plaintift's Counsel and the Ohio Attorney General requested itemized billing,

Joumey Lite still did not provide an itemized breakdown of the charges; instead Joumey Lite

condoned to provide “Account Ledgers,” which contained barebones “Insnrance Billing” and

“Insurance Payments.”

381. Due to Joumey Lite’s downright rehisal to comply with Plaintift’s request for itemized

billing, Plaintiff has been forced to tile a class action suit against Joumey Lite’s for their

egregious billing practices

382. The bills sent by Joumey Lite to Plaintiff falsely represented that Plaintifi”s surgeries

were appropriately indicated, perfonned, and medically necessary in contra-indication of the

standard of care.

383. Upon information and belief, Plaintiff believes the bills requested by Plaintiff will

indicate that Joumey Lite Hospital falsely represented that Plaintii`i’s surgery was appropriately

indicated, performed, and medically necessary in contra-indication of the standard of care.

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384. The bills were sent to Plaintifi" s insurance company with the lmowledge of Joumey Lite
that in fact Plaintit`i‘s surgeries were not appropriately billed and documented and that the
services rendered at Joumey Lite associated with Dr. Durrani were not appropriate

385. Plaintiffs relied on the facility holding Dr. Durrani out as a surgeon and allowing him to
perform surgeries at its health care facility as assurance the facility was overseeing Dr. Durrani,
vouching for his surgical ahilities, and further was appropriately billing Plaintiff's for Joumey
Lite’s services in association with Dr. Durrani*s surgeries.

386. As a direct and proximate result of this reliance on the billing of Joumey Lite, Plsintiff
incurred medical bills that she otherwise would not have inctured.

387. Joumey Lite also either concealed horn Plaintift` that they knew about Dr. Durrani,
including that InfusefBMP-Z and!or Puregen would be used in Plaintiil"s surgeries, or
misrepresented to P]aintii`fthe nature of the surgeries and the particular risks that were involved
therein

388. Joumey Lite’s concealments and misrepresentations regarding IniiiselBMP-Z and/or
Puregen and the nature and n'slcs of Plaintift‘s surgeries were material facts.

389. The use of BMP-2 increases a person’s chance of cancer by 3.5%.

390. Due to the unnecessary surgeries Dr. Durrani perforrned, Plaintifi` has a 3.5% increased
chance of cancer because of the use of BMP-2.

391 . As a direct and proximate result of the`use and implementation of Iniiise/BMP-2 Plaintiff
has incurred a 3.5% increase in the risk of Cancer. As a result Plaintit’f has an increased fear of

Ual'lcel’.

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392. Because of its superior position and professional role as a medical service provider,
Joumey Lite had a duty to disclose these material facts to Plaintiffs and a duty to refrain from
misrepresenting such material facts to Plaintift`s.
393. Joumey Lite intentionally concealed andfcr misrepresented said material facts with the
intent to defraud Plaintiff in order to induce Plaintiff to undergo the surgeries, and thereby
profited from the surgeries and procedures Dr. Durrani performed en Plaintiff at Joumey Lite.
394. Plaintiff was unaware that InfusefBMP-Z and/or Puregen would be used in Plaintift’s
surgeries and therefore was unaware of the health risks of InfuselBMP-S! or Puregen's use in
Plaintifl"’s spine.
395. Had Plaintiff known before Pla:intiff’s surgery that Puregen would be used in Plaintitf's
spine and informed of the speciiic, harmful risks flowing there Jri’orn, Plaintiff would not have
undergone the surgeries with Dr. Durrani at Joumey Lite.
396. Plaintiff is still awaiting billing from J durney Lite Hospital reflecting the exact totals
charged for the use of BMP-Z on Plaintiff.'
397. As a direct and proximate result of the hand upon Plaintiffs by llourney Lite, Plaintiff
sustained all damages requested in the prayer for relief.

COUNT IV: OHIO CONSUMER SALES PROTECTION ACT
398. Although the Ohio Consumer Sales Protection statutes O.R.C 1345.01 et seq. exempts
physicians, a transaction between a hospital and a patient/consumer is not clearly exempted
399. Joumey Lite’s services rendered to Plaintiff constitute a “consurner transaction" as
defined in ORC Seetion 1345.01(A).
400. J carney Lite omitted suppressed and concealed ii'orn Plaintifl`s facts with the intent that

Plaintiffs rely on these omissions, suppressions and concealments as set forth herein.

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v

401. Joumey Lite’s misrepresentations, and its omissions, suppressicns and concealments of
fact, as described above, constituted unfair, deceptive and unconscionable acts and practices in
violation of O.R.C 1345.02 and 1345.03 and to Substsntive Rules and case law.
402. Joumey Lite was fully aware of its actions
403. Joumey Lite was fully aware that P]aintifi`s were induced by and relied upon Joumey
Lite’s representations at the time Joumey Lite was engaged by Plaintiffs.
404. Had Plaintiffs been aware that Joumey Lite’s representations as set forth above were
untrue, l`-‘laintifl"s would not have used the services of Defendants.
405. J carney Lite, through its agency and employees knowingly committed the unfair,
deceptive and/or unconscionable acts and practices described above.
406. Joumey Lite’s actions were not the result of any bona fide errors.
407. As a result of J ourney Lite’s unfair, deceptive and unconscionable acts and practices,
Plajntiffs have suffered and continues to suffer damages, which include, but are not limited to the
following:

d. Loss of money paid

e. Severe aggravation and inconveniences

2'"

Under O.R.C. 1345.01 Plaintiff is entitled to:

i. An order requiring Joumey Lite restore to Plaintitfs all money received
from P]aintift`s plus three times actual damages and/or actual/statutory
damages for each violation;

ii. All incidental and consequential damages incurred by Plaintiffs;
iii. All reasonable attomeys’ fees witness fees, court costs and other fees

incurred;

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iv. Such other and further relief that this Court deems just and appropriate
COUNT V: PRODUCTS LIABILITY

408. At all times lnfuse/BMJ’~Z and Purcgen are and were products as defined in R.C. §
2307.71(A)(12) and applicable law.
409. Joumey Lite (aka supplier) supplied either Medtronic’s (aka manufacturer) Infuse/BMP-2
for surgery performed by Dr. Durrani on Pla.intiff.
410. Joumey Lite, as a supplier, failed to maintain lnthse/BMP-Z properly
411. Joumey Lite did not adequately supply all components required to use either
In{i.rse/BMP-ZZ properly.
412. Joumey Lite knew or should have known the FDA requirements and Medtronic’s
requirements for using either In:tilse/BMP-Z.
413. Joumey Lite stored either mmse/BMP-Z at its facility.
414. Joumey Lite ordered either Infusc/BMP-Z for surgery performed by Durrani.
41 5. Joumey Lite did not adequately warn Plajntiff that Infiise/BMP-2 would be used without
all FDA and manufacturer required components
416. Joumey Lite did not gain informed consent from Plaintiff for the use of Infuse/BMP-Z, let
alone warn of the supplying of the product without FDA and manufacturer requirements
41 7. Joumey Lite failed to supply either Iniirse/BMP-ZZ (al<a product) in the manner in which it
was represented
418. Joumey Lite failed to provide any Waming or instruction in regard to lnfuse!BMP-Z, and
failed to make sure any other party gave such warning or instruction
419. Plaintifi`s suffered physical, iinancial, and emotional harm due to Joumey Lite’s violation

of the Ohio Products Liability act Plaintiti`s injuries were a foreseeable risk

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420. Plaintiff did not alter, modify or change the product, nor did Plaint:iff know that the
product was being implanted without all required components

421 . Joumey Lite knew or should have known that the product was extra-ely dangerous and
should have exercised care to provide a warning that the product was being used and that the
product was being used outside FDA and manufacturer requirements The harm caused to
Plaintiff by not providing an adequate warning was foreseeable

422. Joumey Lite knew that the product did not conform to the representation of the intended
use by the manufacturer yet permitted the product to be implanted into Plaintiff.

423. Joumey Lite, as a supplier, acted in an unconscionable manner in failing to supply the
product without all FDA and manufacturer required componentsl

424. Joumey Lite, as a supplier, acted in an unconscionable manner in failing to warn
Plaintiffs that the product was being supplied without ail FDA and manufacturer required
components

425. Joumey Lite 's actions demonstrate they took advantage of the Plaintiffs inability, due to
ignorance of the product, to understh the product being implanted without FDA and
manufacturer required components

426. Joumey Lite substantially benedted financially by the use of the product as the product
allowed for Defendant to charge more for the surgery.

427. Plaintiffs suffered economic loss as defined in R.C. § 2303.7I(A)(2) and applicable law,
428. Plaintiffs suffered mental and physical harm due to Joumey Lite’s acts and omissions
429. Plaintiifs suffered emotional distress due to acts and omissions of Joumey Lite and are
entitled to recovery as defined in R.C, § 2307.71(A)(7) and applicable law.

430. Joumey Lite violated the Ohio Products liability Act R.C. § 2307.7_1-2307.80

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431. Joumey Lite violated R.C. § 23 07.71(A)(6).
432. Joumey Lite violated The Ohio Consurner Sales Practices Act R.C. § 1345.02-.03.
433. Joumey Lite provided inadequate warnings are defined in R.C, § 2307.76(A) and
applicable law.

COUNT VI: SPOLIATION OF EVIDENCE
434. Joumey Lite through its agents and employees, willfully altered, desn’oyed, delayed, hid,
modified andior spoiled (“spoiled”) Plaintiff' s records, billing records, emails, paperwork and
related evidence
435. Joumey Lite through its agents and employees, spoiled evidence with knowledge that
there was pending or probable litigation involving Plaintiff.
Joumey Lite’s conduct was designed to disrupt Plaintiff’s potential and/or actual case, and did in
fact and proximately cause disruption, damages and harm to P]aintiff.

COUNT VII: LOSS OF CONSORTIUM

436. At all times rclevant, the Plaintiffs were married.
437. As a result of the wrongful acts and omissions of Joumey Lite, Plaintiffs were caused to
suffer, and will continue to suffer in the future, loss of eonsortiurn, loss of society, loss of
aifection, loss of assistance, and loss of conjugal fellowship, all to the detriment of Plaintiffs'
marital relationship
438. A]l the aforesaid injuries and damages were caused proximately by the acts and
omissions of]ourney Lite.

PRAYER FOR RELIEF

 

W]E[EREFORE, Plaintiff requests and seeks justice in the form and procedure of a jury, verdict

and judgment against Defendants on all claims for the following damages:

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1_ Past medical bills;

2, Future medical bills;

3. Lost income and bencfits;

4. Lost future income and benefits;

5. Loss of ability to earn income;

6. Past pain and suffering;

7. Future pain and sutfering;

8. Plaintiff seeks a finding that her injuries are catastrophic under Ohio Rev. Code
§2315.18;

9. All damages permitted under Ohio Products Liability Act R.C. § 2307.7] -2307.80 and all
other applicable law;

lO. All incidental costs and expenses incurred as a result of her injuries;

ll. The damages to their credit as a result of her injuries;

32. Punitive damages;

l3. Loss of Consortiurn

14. Costs;

15. Attorneys' fees;

16. lnterest;

17. All property loss;

18. All other relief to which she is entitled including O.R.C. 1345.01

Based upon ]-17 itemization of damages, the damages sought exceed the minimum

jurisdictional amount of this Court and Plaintitf seeks in excess of $25,000.

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Respectfu}ly Submitted,

@?\>

Maahew Hmn‘&er(oo92483)
Lindsay Bcese (0091307)
Aflomeysfbr Plaz`ntz_'j"

5247 Madison Pike
Independence, KY 41051
Phone: 513-729~1999

Fax: 513-381-4084
mhamrner@ericd eters.com

JURY DEMAND

Plajnaffs make a demand for a jury under all nw

Matthew Hammer (6092483)
Lindsay Boese (009] 307)

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IN THE COURT OF COMIHON PLEAS

HAM]LTON COUNTY, OHIO
CIVIL DIVISION
JENNIFER & JOSEPH MYERS '
Case No.
Iudge:
Plaintiff,
v. : MOTION FOR EX'I'ENSION OF TIME

TO FILE AFFIDAVlT OF MER.IT
ABUBAKAR ATIQ DURRANL M.D., et al:

Defendants.

 

Comes now Plaintift`s, through Counsel, and file this Motion for an Extension ofTime for

at least 90 days to tile an AHidavit of Merit in support of Plaintiffs’ medical negligence claim.

Notab]y, Plaintiffs’ claims related to Billing Fraud, Battery, Spoliation of Evidence, and

Intentional lntliction of Ernotiona] Distress do not require an affidavit of merit.

Furthenncre, this case was Hled, inter alia, to preserve all applicable statutes of
limitation Therefore, the Plainu'li` respectfully requests a brief opportunity to acquire ali relevant
medical records, billing, and radiology imaging ftles, and have Plaintiffs’ retained expert medical

consultants review the records.

Based on the other substantially similar claims against Dr. Shanti, Plaintifi`s’ nurse
consultant review, and the preliminary medical documents, the case is unquestionably supported

by Ohio Iaw.

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THEREFORE, Plaintif£s respectfully request at least a ninety (90) day extension to file
an affidavit ot`rnerit; an opportunity to be heard if the relief is not granted; and Court oversight in
the medical records production, which have not been timely produced by Defendants, if
necessary

Respeotfully submitted,

M~

Maa ama toolsé¢iss)
Attorney for Plaintiff

5247 Madison Pike
Independence, KY 4105 l
859-363-1900 Fax: 859-363-1444

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J-

COURT OF COMMON PLEAS
HAMILTON COUNTY, OHIO

REQUEST AND INSTRUCTIONS FOR ORDINARY MAlL SERV!CE

Jennifer |V|yers, et a|.

INSTRUCT|ONS TO THI_:`. CLERK
Plaiutifl`

-vs_

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cAsl-: NuMBEn=

 

Joumey Lite of Cincinnati, LLC
Defendant

IF SERV|CE OF PROCESS BY CERT|FIED MA[L IS RETURNE.D BY THE POSTAL
AUTHORITIES WITH AN ENDORSEMENT OF “REFUSED” OR “UNCLAIMED” AND IF THE
CERTIFICATE OF MAU..ING CAN BE DEEMED COMPLETE N(_)'I` LESS THAN FIVE (5) DAYS
BEFORE AN\’ SCHEDULED HEARING, THE UNDERSIGNED WA|VES NOT|CE Ol"` THE

FAILURE OF SERVICE BY THE CLERK AND REQUE$TS ORDINARY MA|L SERV{CE IN
ACCORDANCE WITH ClVlL RULE 4.6 (C) OR (D) AND ClVlL RULE 4 6 (E)

Matthew J. Hammer

 

 

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common PLisAs cover

Jennifer & Joseph Myers

VS

Abubakar Atiq Durrani, MD et al

 

HAMILTON couNT`Y, onto

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WR|TTEN REQUEST FOR SERV|CE
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Comp|a\nt & Motion For Extension of Tme to Flle AOM

 

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DOMESTIC CASE
PLAINTIFF/DEFE`.NDANT REQUESTS EXPRESS MAIL SERV|CE
CERTIF[ED MAlL SERV|CE x REGUL.AR MA|L SERVICE
PBRSONAL SERVICE RESIDENCE SERVICE
PROCESS SERV|CE FORE|GN SHERIFF
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ATTORNEY NUMBER

